               Case 9:18-bk-05608-FMD         Doc 109     Filed 02/21/19     Page 1 of 3



                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   FT. MYERS DIVISION
 In Re:

 TRUTH TECHNOLOGIES, INC. ,                       Case No. 9:18-bk-05608-FMD

       Debtor.                                    Chapter 11
 ____________________________/

          OBJECTION TO CONFIRMATION OF AMENDED CHAPTER 11 PLAN

          COMES NOW Complete Business Solutions Group, Inc. (hereinafter “CSBG”), by and

through its undersigned attorneys, and pursuant to 11 U.S.C. §1129, objects to confirmation of

the Debtor’s Amended Plan of Reorganization [Docket No. 99] (hereinafter "Amended Plan"),

and would show:

          1.       On July 6, 2018, the Debtor filed the instant voluntary Chapter 11 bankruptcy.

          2.       On July 17, 2018, CSBG filed a timely proof of a secured claim (1-2) in the

amount of $70,578.88. On November 2, 2018 CSBG filed a timely proof of a secured claim (16)

in the amount of $68, 370.70. CSBG is a party in interest which may object to the Plan.

          3.       On February 7, 2019 the Debtor filed an Amended Plan. [Doc. No. 99] The

Amended Plan provides to treat CSBG’s claims in Class 4 and in relevant part states that “Any

liens on the Debtor’s property held by CBSG shall be stripped from the property and expunged in

their entirety”.

          4.       The proposed treatment of Class 4 is improper treatment of CBSG’s claims.

          5.       CSBG objects to the confirmation of the Debtor’s Amended Plan for the

following reasons:

                   (a)    The Amended Plan does not comply with the requirements of 11 U.S.C.§

                                                    1
           Case 9:18-bk-05608-FMD           Doc 109     Filed 02/21/19     Page 2 of 3



1129(a)(1) because the Amended Plan is not proposed in good faith and consequently violates

11 U.S.C. § 1129(a)(3).

               (b).    The Amended Plan does not disclose the officers and directors of the

reorganized debtor as required by 11 U.S.C. § 1129(a)(5).

               ( c).   The Amended Plan does not meet the requirements for the treatment of

each impaired class of creditors as required by 11 U.S.C.§ 1129(a)(7) (ii) and § 1129(b)(2)(B)(I).

The Plan is insufficient to provide CSBG with payment of at least the amount due as of the

effective date of the Plan or what it would receive upon liquidation.

               (d).    The Amended Plan has not been accepted by each class of creditors as

required by 11 U.S.C. § 1129(a)(8).

               (e).    The Amended Plan does not comply with the requirements of 11 U.S.C.

1129(a)(10) in that at least one class of impaired clams has accepted the Amended Plan.

               (f).    The Amended Plan does not comply with the requirements of 11 U.S.C.

1129(a)(11) in that the Amended Plan is likely not feasible as is likely to followed by liquidation.

       WHEREFORE, CSBG respectfully requests the Court to deny confirmation of the

Debtors' Amended Plan.

                                      /s/DAVID E. HICKS, ESQ.
                                      DAVID E. HICKS, ESQ.
                                      Fla. Bar No. 0368245
                                      KELLEY KRONENBERG ATTORNEYS AT LAW
                                      1511 N. Westshore Blvd., Suite 400
                                      Tampa, FL 33607
                                      (813) 223-1697
                                      (813) 433-5275 (fax)
                                      E-mail: dhicks@kelleykronenberg.com
                                      Attorneys for CSBG



                                                 2
           Case 9:18-bk-05608-FMD            Doc 109      Filed 02/21/19     Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the Objection to Confirmation was
furnished either by electronic or standard first class mail to the partes listed below on this 21st day
of February, 2019.



                                       /s/DAVID E. HICKS, ESQ.
                                       DENNIS J. LeVINE, ESQ.
                                       Fla. Bar No. 375993
                                       DAVID E. HICKS, ESQ.
                                       Fla. Bar No. 0368245
                                       ALISON VERGES WALTERS, ESQ.
                                       Fla. Bar No. 0679402
                                       KELLEY KRONENBERG ATTORNEYS AT LAW
                                       1511 N. Westshore Blvd., Suite 400
                                       Tampa, FL 33607
                                       (813) 223-1697
                                       (813) 433-5275 (fax)
                                       E-mail: dhicks@kelleykronenberg.com
                                       Attorneys for CSBG


Truth Technologies, Inc
5621 Strand Blvd., Suite 305
Naples, FL 34110

Michael R Dal Lago, Esq.
999 Vanderbilt Beach Road, Suite 200
 Naples, FL 34108

Benjamin E. Lambers, Esq.
Office of the U.S. Trustee
51 S.W. First Ave., Room 1204
Miami, FL 33130




                                                  3
